             Case 4:05-cr-00483-PJH          Document 72        Filed 03/17/06      Page 1 of 2



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    TIMOTHY J. LUCEY (CSBN 172332)
     Assistant United States Attorney
5
        450 Golden Gate Avenue
6       San Francisco, CA 94103
        Telephone: (415) 436-7152
7       Facsimile: (415) 436-7234
        E-mail: Timothy.Lucey@usdoj.gov
8
     Attorneys for United States of America
9
10                                 UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,                     )       No. CR 05 - 0483 PJH
                                                   )
14           Plaintiff,                            )
                                                   )       STIPULATION AND
15      v.                                         )       [PROPOSED] ORDER
                                                   )
16   SANDOR LAKATOS,                               )
                                                   )
17           Defendant.                            )
                                                   )
18
19           WHEREAS, the matter is currently set for a hearing on defendant’s Motion to Disclose a
20   Confidential Informant as well as his Motion for Bill of Particulars on Wednesday, March 22,
21   2006, at 1:30 p.m. before this Court;
22           WHEREAS, the parties’ initial trial papers, including pre-trial conference statement and
23   motions in limine, are due to be filed on Wednesday, March 22, 2006, ten (10) court days
24   prior to the parties’ pre-trial conference now set for Wednesday, April 5, 2006;
25           WHEREAS, the parties will not be able to finalize their trial papers, particularly the pre-
26   trial conference statement and motions in limine, until after the Court rules on defendant’s
27   pending motions regarding discovery;
28           WHEREAS, the parties agree that a brief continuance to file the initial trial papers, until

     STIPULATION AND [PROPOSED] ORDER/LAKATOS
     CR 05 - 0483 PJH                       1
              Case 4:05-cr-00483-PJH           Document 72            Filed 03/17/06   Page 2 of 2



1    Friday, March 24, 2006, would be appropriate and serve the interests of the parties and the Court
2    in preparing for the pre-trial conference on April 5, 2006;
3             ACCORDINGLY, the parties hereby stipulate and respectfully request that the schedule
4    as to preparation for the pre-trial conference be modified as follows:
5             The parties shall file their initial pre-trial papers, including any motions in limine, on or
6    before March 24, 2006;
7             The parties shall file their remaining pre-trial papers, including responses to any motions
8    in limine, on the date already scheduled by the Court’s pre-trial order, which remains March 29,
9    2006.
10            The pre-trial conference date shall remain as scheduled for April 5, 2006, at 1:30 p.m.
11   before this Court.
12            IT IS SO STIPULATED.
13
14   Dated:                                                              /s/
                                                              ARTHUR WACHTEL
15                                                            Attorney for Defendant
                                                              SANDOR LAKATOS
16
17
                                                              KEVIN V. RYAN
18                                                            United States Attorney
19
20   Dated:                                                              /s/
                                                              TIMOTHY J. LUCEY
21                                                            Assistant United States Attorney
22                                                                       ISTRIC
                                                                    TES D      TC
23            IT IS SO ORDERED.                                   TA
                                                                                          O
                                                              S




                                                                                           U
                                                            ED




24
                                                                                            RT




                                                                                   ERED
                                                                         O ORD
                                                        UNIT




                3/17/06
                                                                 IT IS S
25   Dated:
                                                              HON. PHYLLIS J. HAMILTON
                                                                                                  R NIA




26                                                            United States District Court
                                                                                           milton
                                                                                  is J. Ha
                                                         NO




27
                                                                       e P h y ll
                                                                  Judg
                                                                                                  FO
                                                          RT




28
                                                                                              LI




                                                                 ER
                                                             H




                                                                                          A




                                                                      N                       C
                                                                                          F
     STIPULATION AND [PROPOSED] ORDER/LAKATOS
                                                                          D IS T IC T O
     CR 05 - 0483 PJH                       2                                   R
